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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
AT HUNTINGTON

JUSTIN ADKINS, et al.,
Plaintiffs,
Vv. Civil Action No, 3:18-CV-00321
Hon. Judge Robert C. Chambers
CSX TRANSPORTATION, INC., et al.,

Defendants.

 

 

AGREED ORDER OF DISMISSAL

On this day came Plaintiffs, Tony Abdon; Brandon Adkins; Justin Adkins; Bobby Akers;
Gerald Barber; Jason Barker; John Bills; James Blain; Justin Blake; Devery Brown; Michael
Campbell; John Carpenter; Quincy Christian; Michael Clark; James Deal; Joshua Ferguson; Jerry
Flocker; John Frasure; Edwin Glowacki; Gregory Hamm; Dennis Hutchinson; Jonathan Jeffers;
Eric Jordan; Grover Kelley; The Estate of Chad Little; David Manis; Jacqueline Marshall; Homer
Maynard; Scott Morrison; Robert Mosteller; Ethan Mullins; Jeremy Napier; Michael Owens;
Kevin Palmer; Shawn Patterson; Michael D. Potter; Michael L. Potter; Samuel Preston; Jonathan
Rowe; Dennis Sargent; Eric Speaks; Donald Stephens; Clay Stiltner; Todd Thayer; Travis
Thornsberry; Jesse Wallace; Lloyd Williams; Michael Williams; Timothy Witt; and Matthew
Woods (hereinafter “above-listed Plaintiffs”), by and through counsel, Kenneth R. Reed, Gregory
G. Paul, Jeffrey R. Dingwall, C. Kiel Garella, Mark F. Underwood, and John Patrick L. Stephens;
and Defendants, CSX Transportation, Inc., Craig S. Heligman, M.D., Gus Thoele, Curt Shogren,
Milton Storm, Delando Jones, Tom DeAngelo, Shawn Lusk, Elizabeth Creedon, and Kenneth Ray
Emerson, (collectively, the “Defendants”); by and through counsel, Melissa Foster Bird, Samuel

L. Tarry, Jr., and Davis M. Walsh; and hereby jointly announce to the Court that all matters in
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controversy between the above-listed Plaintiffs and the Defendants in the above-referenced matter
have been resolved. Accordingly, the above-listed Plaintiffs and the Defendants jointly move this
Court to dismiss any and all claims against the Defendants, with prejudice, in the above-referenced
matter.

WHEREFORE, the Court, having considered the request of counsel, and being otherwise
sufficiently advised, hereby ADJUDGES, ORDERS AND DECREES that claims of the above-
listed Plaintiffs against the Defendants are DISMISSED WITH PREJUDICE. The above-listed
Plaintiffs and the Defendants shall bear their own costs.

The Court further DIRECTS the Clerk to send a copy of this Agreed Order of Dismissal

to all counsel of record.

fz
Entered this the ___/ ( day of , 2022.

 

(Honorable Robert @ Chambers
Presented by:

/s/ Melissa Foster Bird

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